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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

       UNITED STATES OF AMERICA

       vs.                                           CASE NO. 6:06-CR-125-ORL-19KRS

       SHARIKA MICHELLE FLOWERS

                                                ORDER

               This case having been considered by the Court on Report and Recommendation

       Concerning Plea of Guilty (Doc. No. 1042, filed October 31, 2006) and no objection thereto

       having been filed, it is ORDERED:

               1.     The Report and Recommendation of the United States Magistrate Judge (Doc.

       No. 1042) is ACCEPTED, AFFIRMED AND ADOPTED.

               2.     Defendant Sharika Michelle Flowers has entered a plea of guilty to Count

       One of the First Superseding Information knowingly, intelligently and voluntarily. Such

       plea is accepted, and Defendant is adjudicated guilty of Count One of the First Superseding

       Information.

               3.     Ruling on acceptance of the Plea Agreement (Doc. No. 885, filed October 20,

       2006) is deferred until the time of sentencing.

               DONE AND ORDERED at Orlando, Florida, this             1st      day of November,

       2006.
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       Copies to:
       Assistant United States Attorney
       Attorney for Defendant
       United States Marshal
       United States Probation
       United States Pretrial Services
       Defendant
       Courtroom Deputy
